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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

 

Gerard CONTALDI,
Plaintiff,

Vv. CA NO. 08-12076-GAO
ALAN MONACO, MARCOS FREITAS,
ROBERT KELLEHER, KEVIN
SHACKELFORD, BRUCE CAMPBELL,
CLIFFORD MANSIR,

and JAMES HODGDON, In Their Individual
Capacities,

Defendants.

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MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO COMPEL

Plaintiff brings this motion to compel complete answers to interrogatories and document
requests seeking information about Defendant police officers’ prior acts of misconduct. This is a
civil rights action for damages for use of unreasonable force and for malicious prosecution.
Tbrough interrogatories and document requests, Plaintiff seeks discovery of past allegations and
investigations of misconduct against the Defendants. Defendants have objected, primarily on
relevance and unspecified “privacy” grounds. The Court should overrule these objections
because officers’ prior misconduct is likely to lead to admissible evidence regarding Defendants’
credibility, motive, and patterns of behavior. This information falls within the broad contours of
relevance under Rule 26(b)(1), and Defendants have failed to identify any privilege or valid

interest that warrants shielding this information from disclosure.
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BACKGROUND

The complaint arises out of an incident on March 17, 2006. Defendant Marcos Freitas, an
off-duty Somerville police officer who had been drinking, became enraged and slapped the
Plaintiff, then fifteen years old. Freitas was angry because Plaintiff and his friends were kicking a
recycling bin near Freitas’s sports car. To protect Plaintiff, one of Plaintiff's friends pushed
Freitas, who had never identified himself as a police officer. The other Defendants, all
Somerville police officers, later apprehended Plaintiff and his friends and exacted summary
punishment for this alleged assault on a police officer. While one of the Defendants held Plaintiff
to the ground, Defendant Freitas hit him in the head with a flashlight or similar blunt object.
Defendants then initiated a baseless criminal prosecution against the Plaintiff, who was acquitted
at trial.

Plaintiff's first set of interrogatories and first request for documents asked Defendants to
provide information about any past misconduct as police officers. Plaintiff sent each Defendant
the following interrogatory:

If you have ever been the subject of an internal investigation, administrative action,

disciplinary action, citizen's complaint, or demand letter pursuant to Chapter 258 of the

Massachusetts General Laws, regarding violation of a citizen's rights or other police
misconduct for your conduct as an employee of the City of Somerville, state for each such

incident:
a. the date of the incident;
b. the substance of the charge or allegation of misconduct made against you;
c. the date the initial charge or claim of misconduct was made;
d. the name and address of all persons making the complaint;
e. the date and outcome of each such charge or allegation of misconduct,

including the date and nature of the final disposition of the matter;

 

 
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f. if any disciplinary action was taken against you as a result of the charge or
allegation of misconduct, ihe name and address of the person
administering such disciplinary action.!

Each Defendant responded as follows:

The defendant objects to this interrogatory on the grounds that it is
overly broad in both time and scope, vague and unduly burdensome.
The defendant further objects to this interrogatory on the grounds that it
is not reasonably calculated to lead to the discovery of admissible
evidence. In addition, the defendant objects to this request in that any
relevance the information may have is far outweighed by both the
defendant’s and any involved civilian’s privacy interests.’

Plaintiff sent the following document request to all of the Defendants is as follows:

All documents relating to complaints against any of the Defendants
alleging excessive force, physical abuse, false arrest, or any other civil
rights violations during such Defendant(s) employment as a police
officer. This request includes but is not limited to all internal and
civilian complaints, civil complaints, criminal complaints and
applications for criminal complaints, police reports, letters or e-mail of
reprimand, correspondence, transcripts, statements, summaries,
affidavits, recordings, and other documents relating to the substance,
investigation, and resolution of such complaints and related disciplinary
action resulting from such complaints.’

Defendants raised identical objections to the document request as to the interrogatories.
Plaintiff requested a privilege log from the Defendants to identify what, if any, information was

being withheld pursuant to these objections, and the nature of the privilege, if any, that was being

 

' The interrogatory and Defendants’ response are attached as Exhibit A to the Declaration
of David Milton. The interrogatory is No. 20 in the set of interrogatories to Defendant Freitas; it
is No. 17 in the set to the other Defendants.

“Td

* The document request and Defendants’ response are attached as Exhibit B to the
Declaration of David Milton; because the objections are the same as those raised to the
corresponding interrogatory, the text is not reproduced in this memorandum.

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asserted. Defendants provided a purported privilege log that identifies four instances of alleged
misconduct and/or discipline, three of which involve Defendant Freitas.’ The log identifies only
the date of the complaint or discipline in question, the officer involved, and a description of the
type of complaint or type of discipline. The log does not identify any specific privilege being
asserted and, at least with respect to the two instances of discipline of Officer Freitas, does not
identify what documents exist.

Plaintiff has independently obtained several documents underlying one of the instances of
discipline against Defendant Freitas. These documents contain admissions by Defendant Freitas
that he has falsified police reports by using “creative writing” — embellishing the reports with
untruths to make them. more incriminating to the criminal defendants.’ Defendant Freitas further

admits to criminal activity himself, including giving drugs seized as evidence to friends.*

ARGUMENT

I. Discovery of Information Concerning Instances of Misconduct or Violation
of Citizen Rights Falls Within the Broad Definition of Relevance under Rule 26(b)(1)

Complaints and investigations of police misconduct made against the Defendant police
pfficers are relevant to show pattern, intent, and motive. They are also relevant to credibility ~ as
the documents already in Plaintiff's possession concerning Defendant Freitas demonstrate.

Rule 26(b)(1) permits discovery “into any nonprivileged matter relevant to any party’s

claim or defense.” Fed. R. Civ. P. 26(b)(1). The rule “contemplates wide-ranging discovery to the

 

* Milton Decl., Exhibit C.
° Milton Decl., Exhibit D (Freitas email to Austin Police Department)

° Id.

 
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fullest possible extent.” Klonoski v. Malab, 156 F.3d 255, 267 (1* Cir. 1998); see also Cabana v.
Forcier, 200 F.R.D. 9, 17 (D. Mass. 2001) (fT ]he scope of discovery under the Federal Rules is
very broad.”}. Discovery “need not be admissible at the trial if the discovery appears reasonably
calculated to lead to the discovery of admissible evidence.” Fed. R. Civ. P. 26(b)(1).

Evidence of past wrongs or acts may be admissible to show “proof of motive,
opportunity, intent, preparation, plan, knowledge, identity, or absence of mistake or accident.”
Fed. Rules Evid. 404(b}. In civil rights actions claiming police misconduct, courts have routinely
ordered disclosure of personnel files, internal affairs investigations, citizen complaints, and
disciplinary of individual officers. See, e.g, Wisniewski vy. Claflin, 2007 U.S. Dist. LEXIS 27850,
at *13-14 (E.D.N.Y. June 7, 2007); Zackery y, Stickton Police Dept., 2007 U.S. Dist. LEXIS
44144, *6 Gi.D.Cal. June 7, 2007); Soto v. City of Concord, 162 F.R.D. 603, 615 (N.D.Cal.
1995); Hampion v. City of San Diego, 147 F.R.D. 227, 229 (S.D.Cal. 1993). The information in
such files is relevant regardless of whether the plaintiff has asserted a claim against the
municipality. See Zackery, 2007 U.S. Dist. LEXIS 44144, *6 (“Even with respect to claims of
excessive use of force against individual officers, such personne! file information has been found
to be quite relevant because they may reveal the defendant officers’ credibility, motive, and
patterns of behavior.”); see also Wisniewski, 2007 U.S. Dist. LEXIS 27850, at *13-14 (“Such
complaints may indicate pattern, intent, or absence of mistake.”); Hampton, 147 F.R.D. at 229
(“Information contained in these files [personnel and internal affairs] may be relevant on the
issues of credibility ... and motive of the officers ...fand] punitive damages, in that the
information may lead to evidence of a continuing course of conduct reflecting malicious

intent.”).

 
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In this case, documents already in Plaintiff's possession show that the requested
information bears on Defendant Frettas’s credibility. Given that this is also a malicious
prosecution case, information concerning officer Freitas’s past falsification of police reports may
also prove relevant to show a pattern of initiating prosecutions without probable cause, among
other misconduct. It may also reveal evidence of malicious intent, which would be relevant not
only to Plaintiff's substantive claim but to punitive damages.

il. Defendant Police Officers’ “Privacy Interests” Do Not Justify Withhoiding
Discovery Regarding Past Misconduct

The Court should reject Defendants’ claim that unspecified “privacy interests” of the
Defendant officers and “any involved civilians” justify withholding relevant discovery.’
Defendant police officers have no privacy interest in protecting disclosure of their past
misconduct, nor have Defendants identified any need to protect the civilian complainants.
Indeed, virtually all of the materials sought are public records under Massachusetts law.

As one Court in this district has stated, “[ijt offends basic notions of openness and public
confidence in our system of justice to shield the results of a police department investigation from
public scrutiny, as the public confidence in the working of the police department is of the utmost
importance.” Williams v. City of Boston, 213 F.R.D. 99, 102 (D.Mass. 2003 (citation omitted) In
keeping with this principle, courts have consistently overruled privacy objections similar to those
raised by Defendants here. See, e.g., Soto v. City of Concord, 163 F.R.D. 610, 617 (N.D.Cal.
1995) (“The existing case law suggests that privacy interest of police officers have not

outweighed the civil rights plaintiffs need to discover the officer defendants’ personnel files.”);

 

’ Defendants make no claim that the withheld information is protected by any privilege.

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accord, e.g., Mason v. Stock, 869 F.Supp. 828, 834 (D.Kan. 1994); King vy. Conde, 121 F.R.D.
180, 191 (E.D.N-Y. 1988).

Defendants’ assertion of “privacy interests” is particularly ill-founded since almost all of
the materials sought are public records under Massachusetts law. See Worcester Telegram &
Gazette Corp. v. Chief of Police of Worcester, 58 Mass. App. Ct. 1, 10 (Mass. App. Ct.
2003)(holding that internal affairs and disciplinary investigations, including interviews, reports,
conclusions, and recommendations, are public records; Massachusetts law only exempts the
actual order and notice of disciplinary action sent to a police officer); accord, Leeman v. Cote, 21
Mass.L.Rep. 411 (Mass.Super.Ct. 2006). The “presentment letter” regarding Defendant
Shackelford — a prerequisite to filing a lawsuit against a public employer under the Massachusetts
Tort Claims Act, M.G.L. c. 258 § 4— is also a public record.

Defendants’ vague and conclusory contention that civilian privacy interests warrant
withholding the materials is also entitled to no weight. Defendants have given no indication of
any harm that would result from disclosure, and it is difficult to conceive of any. Moreover, two
of the four investigations/allegations on Defendants’ privilege log -- the reprimand of Defendant
Freitas for violating the Somerville residency rule and his suspension regarding his application
for employment to the Austin Police Department (in connection with which he admitted to
falsifying police reports and to criminal conduct) - do not involve civilian complainants.

CONCLUSION

For the foregoing reasons, the Court should grant the Plaintiff's motion to compel;

overrule Defendants’ objections to Interrogatory No. 17 to Freitas, Interrogatory No. 20 to all

Defendants; and to Document Request No. 9 to all Defendants; and order the Defendants to

 

 
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produce the requested documents and answer the specified interrogatories within two wecks of
the Court’s decision.

RESPECTFULLY SUBMITTED,

For Plaintiffs,

/s/ David Milton

Howard Friedman, BBO #180080

David Milton, BBO #668908

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Dated: September 16, 2009
CERTIFICATE OF SERVICE
{ certify that on this day a true copy of the above

document was served upon the attorney of record
for each party via ECF.

Date: September 16, 2009 isi David Milton
David Milton
